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                     IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

                                                 Case No. 8:20-CV-02184MSS-SPF

  MELANIE MOORE,

        Plaintiff,

  v.

  POOCHES OF LARGO, INC. and

  LUIS MARQUEZ,

        Defendants
  ________________________________/

                       PLAINTIFF'S NOTICE TO THE COURT

  1. Plaintiff, Melanie Moore, files the foregoing Notice to provide the Court a

  summary of this proceeding, to provide the Court with a status update, to

  respectfully remind the Court of a pending motion awaiting a decision by the

  Court, and to advise the Court that this case has reached an impasse lasting for

  ten months without any further progress toward resolution and the Court's

  intervention is necessary, without which this case can proceed no further.

  2. This FLSA case was filed on September 16, 2020. Plaintiff is proceeding in

  forma pauperis. As such, her pro se drafted Complaint was reviewed by the Court

  to determine that it effectively stated a claim for relief prior to granting leave to

  file without payment of filing fees.
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  3. Plaintiff's Complaint was determined to be adequate, and the Court ordered

  the U.S. Marshal's office to serve the Defendants. Defendants were served on

  December 4, 2020. Counsel filled his appearance the same day.

  4. Despite service of both Defendants effectuated on December 4, 2020,

  Defendants filed a motion on December 10, 2022, "informally waiving service"

  and seeking an extension of time to respond premised on the claim that they

  were "waiving" service voluntarily. Defendants sought an extension until

  January 13, 2021, which the Court granted the next morning.

  5. The Court ordered the parties to meet for case management, to file a joint case

  management report, and to promptly file corporate disclosures and certification

  of interested persons. The Defendants viewed the Court's orders as optional and

  chose not to comply with any of the orders.

  6. Defendants filed a Rule 12(b)(6) MOTION TO DISMISS (Doc. 19) was filed, in

  lieu of an Answer, on January 12, 2020. Defendants indicated their belief that all

  further events should be stayed pending a ruling on their motion. The

  Defendants' request was without justification. No undue burden would be

  caused to the Defendants by proceeding to discovery, given that the Plaintiff is

  only one employee, her employment was brief, and the records pertaining to the



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  Plaintiff's employment were already in the custody and control of the

  Defendants prior to the commencement of this action. Moreover, the Defendants

  did not seek a protective order in support of their request to stay any further

  action in this case. Therefore, the Court did not issue any order staying discovery

  or any further events in this proceeding in response to the Defendants' interest in

  avoiding discovery.

  7. Without justification, the Defendants' refused to litigate this case in accordance

  with orders of the Court, or Local and Federal Rules of Civil Procedure. The

  Defendants viewed compliance with orders of the Court as options for which

  they chose not to exercise, and as a result, did not participate in a case

  management meeting with the Plaintiff pursuant Local Rule 3.02(a)(1), did not

  file a joint case management report pursuant Local Rule 3.02(a)(2), nor did they

  file corporate disclosures and certifications pursuant Local Rules 3.03(a) and

  3.03(b).

  8. After several weeks of disregarding Plaintiff's attempts to schedule a case

  management meeting, opposing counsel responded to the Plaintiff's emails,

  indicating that he had no intention of proceeding further until such time as the

  Court addressed the pending MOTION TO DISMISS.



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  9. The Defendants' Motion to Dismiss remained pending before the Court for

  eight months, during which time this case was unable to move forward toward

  resolution. As the result of the Defendants' refusal to engage in this litigation

  according to the Rules and orders of the Court, this proceeding was at an

  impasse until the Court addressed the motion in August of 2021, eleven months

  after this action was filed.

  10. In its ruling on the MOTION TO DISMISS, the Court ordered the dismissal of

  eleven of thirteen causes of action for failure to state a claim, to include the

  Plaintiff's FLSA retaliation claim. This decision came just thirty days before the

  expiration of the FLSA three-year extended statute, for which the clock continued

  to run during those eight months for which this proceeding was at a standstill,

  thus causing the Plaintiff to lose valuable time that could have been used to refile

  the claim prior to the expiration of the statute.

  11. The order to dismiss nearly every cause of action in the Complaint for failure

  to state a claim was made despite finding that the Complaint adequately stated a

  claim for relief at the time it was filed in forma pauperis. Moreover, the claims

  ordered to be dismissed were maintained in this proceeding for just under one




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  year at the time the order was made for the claims to be dismissed for technical

  deficiencies in the Plaintiff's pro se drafted Complaint.

  12. The ruling in which all but two of thirteen causes of action were ordered to be

  dismissed was directly counter to this Court's liberal amendment policy, its

  policy of deciding cases on the merits rather than for the disposition of an action

  to be decided on technicalities of a pleading. This is especially true of pro se

  drafted pleadings, which are not to be construed by the same stringent standard

  of review as is expected from pleadings drafted by attorneys.

  13. Plaintiff turned to the Court in April 2021, seeking help after four months of

  inability to advance this case due to Defendants' bad faith refusal to litigate in

  accordance with the Rules of Civil Procedure. Plaintiff filed a MOTION FOR

  RELIEF (Doc. 24) on April 7, 2021, seeking the Court's intervention by enforcing

  its orders from eight months earlier to participate in case management, to create

  and file a joint case management report, and for the Defendants to file corporate

  disclosures and certifications.

  14. The Plaintiff further requested that the Court grant leave to file an amended

  Complaint and to identify any technical issues in her pro se drafted Complaint

  that were interfering with the Court's ability to timely decide the MOTION TO



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  DISMISS, which remained pending before the Court for four months at the time

  of her request. However, when the Court decided the Defendants' motion to

  dismiss four months later, it subsequently denied Plaintiff's motion for relief as

  moot.

  15. Thus, the Plaintiff was not permitted the same opportunity to amend her

  Complaint that even Plaintiff's represented by counsel are granted, and for

  which it is often the case that they are given multiple opportunities to amend a

  pleading before dismissing for failure to state a claim. Plaintiff cannot be

  reasonably held to higher standard of perfection than an attorney practicing

  before this Court by dismissing nearly every cause of action in her pro se drafted

  pleading without even one opportunity to cure any deficiencies in the Complaint

  and refile.

  16. Moreover, the order for the dismissal of these eleven causes of action was

  made despite the Court's knowledge that the Defendants willfully and

  knowingly refused to file the required disclosures and certifications pursuant

  Local Rules 3.03(a) and 3.03(b), which require the disclosures to be filed at the

  time of appearance by counsel or immediately thereafter. By their bad faith and

  refusal to participate in case management, together with their explicit refusal to



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  file the required documents and the Court's lack of intervention to enforce the

  Rules and orders, the Defendants were permitted to interfere with the Plaintiff's

  ability to obtain evidentiary support through discovery with which to prove her

  case.

  17. Moreover, the Court did not hold a case management conference with the

  parties pursuant Fed. R. Civ. P. 26 or issue a scheduling order for the events in

  this action pursuant Local Rule 3.02(c). By not doing so, it allowed the

  Defendants to prolong this case indefinitely because no dates were set to manage

  the timely progress of this action.

  18. In addition, the Court has not set a trial date in this case, despite its pendency

  before the Court for nearly two years as of the date of this NOTICE. As a result of

  the Court's lack of intervention to advance the progress of this case, the Plaintiff's

  right to a just and speedy resolution has been compromised and the time for an

  expeditious hearing of this case has long passed.

  19. On July 7, 2021, the Plaintiff filed a MOTION FOR AN ORDER TO SHOW

  CAUSE (Doc. 27) as to why the Defendants should not be required to follow

  orders of the Court and the Rules of Civil Procedure, why they should not have

  to file the required disclosures and certifications, why they should not be



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  sanctioned for refusing to act in good faith and participate in case management ,

  and why they should not be sanctioned for causing undue burden to the Plaintiff

  and causing an eight month standstill during which no further action could be

  taken in this proceeding. However, rather than hold the Defendants and their

  counsel accountable for their misconduct, the Court cancelled the order for case

  management and denied the Plaintiff's motion as moot, stating that there had

  been no misconduct by the Defendants for which to show cause or consider

  sanctions because the Court was cancelling the order for case management- the

  very order by which the Defendants' disobedience formed the premise of their

  dilatory conduct meant to obstruct the administration of justice.


  20. In the absence of a scheduling order issued at the outset and in place of the

  Plaintiff's opportunity to obtain evidence through discovery process by which

  she sought to prove her claims, the Court instead issued an order limiting the

  evidence Plaintiff was permitted to have to prove the two remaining claims to

  only payroll records and time clock records.


  21. Rule 3.02(c) states in relevant part, that "After consideration of the case

  management report, the judge must enter an order setting deadlines and

  scheduling the case for trial." While Local Rule 3.02(d)(1) creates an exception to

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  Rule 3.02(c), stating that "These proceedings are excepted from the requirements

  in (a):(1) an action in which the judge enters a special scheduling order at the

  outset;", this exception does not apply in this case because the Court issued the

  order indication the evidence Plaintiff was permitted to obtain to prove her

  claims almost one year after the commencement of this case, rather than at the

  outset in accordance with the Rule.


  22. The Court further ordered the Plaintiff to answer INTERROGATORIES BY

  THE COURT (Doc. 34) and to surrender her responses to opposing counsel.

  Accordingly, the Plaintiff answered the Court's interrogatories and surrendered

  her responses to opposing counsel within the time limitation set by the Court.


  23. However, the Defendants remained true in their refusal to comply with every

  order this Court had issued since the commencement of this action nearly two

  years ago. Defendants' exercised their option not to comply with the order to

  surrender Plaintiff's time clock and payroll records, which was ordered eleven

  months ago. Plaintiff requested the documents from opposing counsel, who

  refused to surrender them, once again demonstrating their disinterest in this

  litigation other than to delay this proceeding for as long as the Court will permit

  them to do so without intervention, without the administration of discipline for

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  the Defendants misconduct that has permeated this case from the outset, and

  without taking action to advance the progress of this case toward resolution.

  24. The Defendants and their counsel have made it readily apparent that they

  have no interest in this litigation, other than to engage in dilatory tactics to waste

  the Court's time and that of the Plaintiff, and to run the on further actions against

  the Defendants going forward.

  25. In light of the lack of judicial oversight of this proceeding, the absence of a

  scheduling order to manage the events of this proceeding, and the fact that this

  case has been pending before the Court for nearly two years and with no trial

  date set by the Court, the progress of this case, or lack thereof, is left to the

  whims of the Defendants and their counsel and their choosing as to whether and

  when this case will move forward beyond this standstill where it has remained

  for the last eleven months.

  26. Plaintiff respectfully reminds the Court that she demanded a trial by jury at

  the time her Complaint was filed, and that no trial date has been set in the two

  years since this case was filed.

  27. Plaintiff also respectfully reminds the Court that a MOTION FOR LEAVE TO

  FILE PROPOSED FIRST AMENDED COMPLAINT (Doc. 37) remains pending



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  before the Court for fifty-five days as of the date of this NOTICE. The proposed

  amended Complaint is attached to the Plaintiff's motion. The deficiencies have

  been cured by amendment so that the case can now effectively proceed on the

  merits. The decision to grant the motion is a simple one as a matter of policy, in

  light of this Court's liberal amendment policy and the fact that Plaintiff has not

  been granted even one opportunity to amend her pleading. There exists no

  justifiable reason why the Plaintiff should not be granted leave to file the

  amended pleading given that, in all but the rarest exceptions, every Plaintiff

  appearing before this Court is granted at least one opportunity to cure the

  deficiencies in a pleading, even those represented by counsel. The Plaintiff

  should be given the same consideration. Moreover, by granting Plaintiff's

  motion, this case can move forward and advance toward resolution.

  28. Lastly, Plaintiff respectfully notifies and reminds the Court that this case has

  not advanced toward resolution for eleven months and that, absent intervention

  by the Court, this case can proceed no further and will remain unresolved

  indefinitely until the Court addresses the foregoing issues.

                                        Respectfully submitted,

                                         s/ Melanie Moore,
                                         Plaintiff


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                                Certificate of Service

  Plaintiff hereby certifies that on June 26, 2022, a copy of the foregoing NOTICE

  TO THE COURT will be forwarded to opposing counsel using the court's

  CM/ECF system, notification of which will be made to the following counsel by

  email through the CM/ECF system.


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